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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DION CARTER,

               Plaintiff,

        v.
                                                          No. 1:22-cv-1681 (DLF)
 DISTRICT OF COLUMBIA, and JAMES
 VAUGHN, DANA FRIEND, HERBERT
 ROUSON, and CHERYL BAILEY,
 individuals,

                Defendants.


                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that the District of Columbia’s Motion to Dismiss this action, Dkt. 15, is

GRANTED. It is further

       ORDERED that the individual defendants’ Motions to Dismiss this action, Dkts. 16, 18,

are GRANTED.

       The Clerk of Court is directed to close this case. This is a final appealable order.

       SO ORDERED.




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                                                             DABNEY L. FRIEDRICH
July 7, 2023                                                 United States District Judge
